                  Case 3:05-po-04255-MEA Document 1-2 Filed 10/27/05 Page 1 of 1
UNITED STATES DISTRICT COURT                                             MAGISTRATE JUDGE'S MINUTES
DISTRICT OF ARIZONA - Flagstaff

DATE: 10/14/2005          CASE NUMBER:         05-4255MP

USA vs. Matthew M. Buckley

U.S. MAGISTRATE JUDGE: MARK E. ASPEY #: 70BP

A.U.S. Attorney                                      INTERPRETER
                                                      LANGUAGE
Attorney for Defendant Pro-Se

DEFENDANT:     : PRESENT 9 NOT PRESENT :RELEASED
    : Initial Appearance 9 Appointment of counsel hearing held
    9 Financial Afdvt taken 9 Dft Released
 PLEA HEARING:                      : Held 9 Cont'd 9 Reset
 Set for:                           before:
 : Consent to be tried by a Magistrate Judge oral. Misd: 9 Class A : Class B 9 Class C
 9 Consent of Defendant/Order of Referral
 9 Waiver of Indictment filed 9 Information filed
 9 Dft states true name to be .
 : Defendant sworn and examined by the Court
 Dft Enters: : GUILTY PLEA to L0132056 of the 9 Information 9 Indictment : Citations
 : Court : accepts 9 recommends dft's plea and finds plea to be freely and voluntarily given
 Plea agreement: :FILED 9 LODGED 9 SEALED
 9 Court does not accept defendant's plea of guilty because
 9 Status Hearing set for                before
 9 All citations to be dismissed upon entry of judgment
 9 ORDER vacate trial date/motion hearing/motions moot
 9 ORDER defendant remain released pending sentence 9 remanded to USM
 9 PSI ORDERED 9 EXPEDITED 9 PSI waived : Time waived for passage of sentence
Other:. Sentence: One (1) year supervised probation, fine of $500.00, special assessment of $10.00 and CVB
processing fee of $25.00

                                                     RECORDED: Cass. Courtsmart
                                                     BY: Christina S. Hurley
                                                     Courtroom Clerk
